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US FEB 1 7 2016
Right of Way Authority MAHia e

Reading Company Charters Chief of Police ‘A “AAeY welK
Land & Title Federal Registry System Per

Right of Way Authority Commission in Accordance to U. S Congress Act S. 4017 to Railroad owned
by Reading Company, a Private Corporation, also Contracting of Land & Title a Federal Registry
System for Secure and Enforcement of Mortgage Licensing Act of 2008 S.A.F.E, Mortgage Licensing
Act" (12 United States Code, Section 5100 et. ) in North America.

Reading Company is the owner of United States Charters Railroad Land of the 13 Original State and
Federal Private purchases.

in the Matter of the Queen of England Declaration to the ownership of the Canada Land in North
America is Based on Fraud and False Claim by the Private Corporation of:

Hudson's Bay Company
Hudson's Bay Department
North West Company

Investigation in Details and Supporting by United States Archives paper and documents :

I- King Charles II, Limited Hudson's Bay Company, Charter Grant of 1670 to Sole Trading Rights in
Hudson's Bay Drainage Basin and only in Fur Trade.

II- Canada land Claim By the British Queen is based on Fraud and false Claim since the United
States Federal Government had Purchased the Land Title Rights from France in Louisiana Purchase
as shown in Map to North America to Hudson Bay Basin Grant was only for Fur Trade because the
Land had been Claimed By the French King, that why King Charles II limited Hudson's Bay Charter
right to Trade in Fur and only in the Hudson's Bay Basin.

the NorthWest Company from Montreal, Canada and the Hudson's Bay Company become one
corporation under the Name of Hudson's Bay Department, the Merger of both Corporation is Granted
in Fur Trade only and in the Hudson's Bay Basin only.

the incorporator and their successors were made Lord Proprietor of the territories land granted by the
Governments of British, under the England Queen Claim to the Title of dominion of Canada Land
expansion in North America was based on Hudson's Bay Company illegally land Sales to the Province
of Alberta, British Columbia, Manitoba, Newfoundland, Labrador, Prince Edward Island, and
Saskatchewan and the three territories Northwest, the Nunavut and Yukon are Sized to United States
Federal Government by U.S Right of Way Authority, Land & Title a United States Federal Registry
System to North America Land.

: the Union of the Northwest Company, Between Canada and British Privateer for the Purpose of

occupation by England Government Military in Canada and established a political Claim on United

: States of America Land by force, fraud, and false Claim.

. in the cession made by the preceding article are including the adjacent Islands of Grand Menan,
belonging to United States.

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The inhabitants of the ceded territory shall be incorporated in the Union of the United States and
admitted as soon as possible according to the principles of the Federal Constitution to the enjoyment of
all the rights, advantages and immunities of citizens of the United States; and in the meantime they
shall be maintained and protected in the free enjoyment of their liberty, property and the Religion
which they profess, " Article III of France 1803 agreement of Lousiana purchase agreement "

November 30 1782 in which the Articles agreed upon, by and between Richard Oswald Esquire, the
Commissioner of his Britannic Majesty, for treating of Peace with the Commissioner of the United
States of America in behalf of his said Majesty on the one part and John Adams, Benjamin Franklin,
John Jay and Henry Laurens for the Commissioner of the United States for Treaty of Peace with the
Commissioner of his said Majesty after the agreement between Great Britain and France will included.
Article 6th - Hostilities were to cease and all British land and sea forces evacuated with all
convenient speed ! is enforced on 2016.

the Queen of England and or Canadian Government Granted the Right to Appeal the Size of North
America Land By United States Federal Government in the Court of Claim at Huggie Netherland.

In God we Trust
U.S. Right of Way Authority
Ibrahim Aly
Reading Company Chief of Police

\ 2/17/2016

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US

Right of Way Authority

Reading Company Charters Chief of Police
Land & Title Federal Registry System

in the Matter of the Queen of England Declaration to the ownership of the Canada Land in North
America is Based on Fraud and False Claim by the Private Corporation of:

Hudson's Bay Company
Hudson's Bay Department
North West Company

Union of the Northwest and the Hudson’s Bay Company ; 1803 - 1846

Title of Hudson’s Bay Company to Rupert Land ;

Rupert's Land Act, 1886 in which the Dominion of Canada purchase Rupert's Land from Hudson's Bay
Company violation, in which no Right Granted to Hudson's Bay Charter is for Fur Trade only and no
Right Granted in Land in Accordance to King Charles II Charter to Hudson's Bay Company.

By the Deed of Surrender in 1869 the HBC agreed to transfer Rupert's Land back to the crown. In 1870
the territory was incorporated into the new Dominion of Canada. In compensation the HBC received a
large sum of money and substantial land holdings. " form Hudson's Bay Company file history"

the Deed of Surrender is the Deed of Occupation in United States of America is Not Permissible and
no right ever granted to HBC to own land thereafter no right granted to Sale land thereafter the Claim
By England under which Canada is under occupation therefore Canada land Registry is Sized to United
State Federal Government. Liberty.of Congress Catalogue Card Number : 72 - 88215 submitted as an
Evidence against Hudson's Bay claim in violation to Federal Land Registry,show that Hudson's Bay
Company does not have any right to the land, because the 1670 Charter limited the grant to Hudson's
Bay Company to Sole Trading Rights in Fur at the Hudson's Bay Drainage Basin thereafter no Right
ever grant to trade behind the Hudson's Bay Basin and No Rights ever granted to owned a Land Under
which the Political Claim to Land title by the Queen of England in North America was by Fraud and
False Claim by Hudson's Bay.

the land of Manitoba in which England purchase the proprietor land right from the Trading Company
of Hudson's Bay, British Columbia in 1871 .

on July, 15 1870, Rupert's land and the North - Western Territories were ceded to Canada and Become
the North West Territories and Smale Part was made the Province of Manitoba.and Rupert's Land
Purchased in 1870 from the Hudson's Bay Company Violation to united States of America Federal
Land Registry of North America in Which the Federal Government owned Title to the Land which
Hudson's Bay Company Fraud and False Claim in Selling the Land to Canada and in which Canada
Under the British occupation no Right Granted to Claim American Land

I- King Charles II, Limited Hudson's Bay Company Charter to Only Fur Trade and also limited the
Charter Right area to Only Hudson's Bay Basin .

If- Canada land Claim By British to Manitoba is Fraud and false Claim since the Federal Government
of United States had Purchased the Land from France in Louisiana Purchase as shown in Map to North

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America to Hudson Bay Basin as Grant only Fur Trade because the Land had been Claimed By the
French King, that why King Charles II limited Hudson's Bay Charter right to Trade in Fur and only in
the Hudson's Bay Basin as explain by details.

the NorthWest Company and the Hudson's Bay Company become one corporation, the Merger of both
Corporation is Granted in Fur Trade only in the Hudson's Bay Basins only.

the incorporator and their successors were made Lord Proprietor of the territories land granted by the
Governments of British the Claim owner to the Title Land in which their Claim based on Hudson's
Bay Company Sales of Canada Land, including its Province and Territories " Between Canada and
British Privateer for the Purpose of Defraud and Land Occupation by Government and Military to
United States of America Federal Land occupied by force and by fraud

Hudson’s Bay Company Claim to Title Land in Which Hudson’s Bay Company Sale the Title of
Rupert's Land is Fraud and False Claim because Hudson's Bay Company Limited Charter to Fur Trade
without Right to land Claim and or to land Sale in Hudson's Bay Basin or In Oregon Territories.

the Land of the Province of Alberta, British Columbia, Manitoba, Newfoundland, Labrador, Prince
Edward Island, and Saskatchewan and the three territories Northwest, the Nunavut and Yukon are
Sized to United States Federal Government by U.S Right of Way Authority, Under Land & Title a
United States Federal Registry System to North America Land.

Article the fourth:

the island of Grand Menan in the said Bay of Fundy, are claimed by the United States .

the Canadian land registry is in violation under which the Queen of England claim to the ownership of
the island in which the name had been changed from: Grand Menan island to Grand Manan island

it is fraud and false claim contrary to British T. reaty of 1814 thereafter the island is sized by U.S
Right of Way Authority land & Title in behalf of the United States Federal Government on
January, 16, 2016.

the British - American Article of Peace; November 30 1782 in which the Articles agreed upon, by and
between Richard Oswald Esquire, the Commissioner of his Britannic Majesty, for treating of Peace
with the Commissioner of the United States of America in behalf of his said Majesty on the one part
and John Adams, Benjamin Franklin, John Jay and Henry Laurens for the Commissioner of the United
States for Treaty of Peace with the Commissioner of his said Majesty after the agreement between
Great Britain and France will included.

Article 2: In the Subject of the Boundaries of the Said United States from the part of 31st degree
point north of the Equator.

Article 3d. the inhabitants of the United States shall have Liberty to take Fish of every kind on such
part of the Coast of Newfoundland , as British Fishermen shall use ( But not to dry or cure the same on
that Island ) and also on the Coast , Bays and Creeks of all other of his Britannic Majesty's Dominion in
America and that the American Fishermen shall have Liberty to Drv and Cure F ish in any of the
unsettle Bays harbours and Creeks of Nova Scotia, Magdalen Islands and Labrado ..without a previous
Agreement for that purpose with the inhabitants Proporitor of Possessors of the Ground.

Article Sth - the Restitution of such of their Estates Rights and Properties as may have been
confiscated.

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Article 6th - Hostilities were to cease and all British land and sea forces evacuated with all convenient
speed !

Year 2016 the Call to end the X Mark since English claim to the Realm by war, Death, and distraction
Starting from King William's War ( 1689 ), Queen Anne's War ( 1702 ) King George's War ( 1744 )
and all the other war follow by God Save the Queen.

the British Columbia's Coat of Arms granted by King Edward VII in 1906 and remaining elements of
the Coat of Arms granted by the Queen Elizabeth IT on October 15, 1987 for the Former Colonies of

_ Vancouver Island and British Columbia violated to United States Federal Government is the Legal
owner of the Land in which British Columbia Treaty Commission Act S.C. 1995, C.45 Assented to
1995 -12-15 an Act respecting the establishment of the British Columbia Treaty Commission

the Treaty negotiations on their behalf with her Majesty in right of Canada and Her Right of British
Columbia is Based on False Claim because the Hudson's Bay Company Charter is the Charter of Fur
Trade and No Right ever Granted to the Land which Hudson's Bay Company Sale to the Queen, this
Sale is Void and the Land Claim by the Land & Title of North America a United States Federal
Registry . thereafter :

is under Canadian Law, by Canadian Citizen granted the Right to Canadian Constitution including
1960 John Diefenbaker Bill of Right. Canada no Longer under the Queen Crown of England
Jurisdiction .

No longer Her Majesty Granted any Right to pointed Governor over the United States Land in North
America , and No Right Granted by Her Majesty to have what so Called British Columbia Constitution
and or No Rights Granted to Her Family for What so Called the District of Columbia of Washington
D.C 1982 Constitution, the land is United States of America Land, Under United States 50 Stars Flag
Law, the law of Flag follow the Law of the Land the United States of America Constitution in America
and Canada Law by the Citizen of Canada shall be maintained and protected in the free enjoyment of
their liberty , property and the Religion which they profess.

for the sake of peace and for the sake of the great nation of which we form a part" word " nation"
replace the word " Empire" represent past history when there was war by enforcing occupation due
to the lack of Civility and Education about the Law in a new World order.

or by any other Corporation Name, Which unlawfully Sales and or buy Land in Washington D.C.
Union Federal Capital Land and in North America without Authorization From United states Federal
Government the Legally Landowner by Purchases,

any Contract Sale of Land in North America is_Voided and Deni by Reading Company, Land & Title a

a Federal Registry System for Secure and Enforcement of Mortgage Licensing Act of 2008 S.A.F.E,
Mortgage Licensing Act" (12 United States Code, Section 5100, et seg.)passed by Congress and signed
by President G.W. Bush in 2008, required all states to implement a Mortgage Loan Originator
(hereafter: "MLO") licensing and registration system by August 1, 2009, subject to stringent federal

standards.
Reading Company Corporation the owner of Federal Land & Title Registry by Mandatory of ***
Congress Act to Land Owned by the United States of America Federal Government in North America.

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French Claims

the First French Settler reach North America in 1534 Jacques Cartier was the First person to explore
the pass through Gulf of St. Lawrence his Voyage in the North West Passage was financed by the King
of France who Claim the Land to the French King. Robert De la Salle Discovery to Mississippi
French explorer Samuel de Champlain - La Verendrye find a Pass to south west past Lake of the Wood
to Rainy Lake and out into Saskatchewan- the Great Plain (now Manitoba and Alberta ).

in 1795 the British organized the Second Company, the North West Company in Montreal Taking
Occupied the old French Land in Fushon Military style by British to United the States of America Land
which the United States Federal Registry prove the owner to North America Land by Title of Purchase
for France in the New France Land in North America detailing Map and Gov. Document from United
States of America by Purchase, by Treaty with Great Britain and other nation.

the Boundaries between United States and Canada dated to the Cession of land by United State Federal
Government Purchases from France in Louisiana Purchase including Canada. all of Louisiana that lay
east of the Mississippi was surrendered by France to England after the French and Indian Wars (1763)
"the Seven Years of Wars ". England surrendered it to the United States after the War of Independence
(1783) See. Id exhibit No. # Map

the Treaty signed by Great Britain , France, and Spain with Portugal in agreement, France give up All
its territory in North America Continent.

the boundary line of the United States as settled by the treaty of peace at Washington in 1876, three
provinces of British North America - New Brunswick, Nova Scotia and the Province of Canada (
which on the formation of Canada, was divided into Ontario and Quebec ) were united to form the
new nation as read Canada

Spanish Claims

In 1492, the Italian explorer Christopher Columbus Sailed from Spain, the Spanish Monarchs
Ferdinand & Isabella, Sponsored his Voyage to the New World, Columbus was the First to Discover
and First to Claim the Land for Spain, under the Spain Flag Law in 1543 in the interest of Spain.
Ferrillo of the Cabrillo's expedition, sailed up the Pacific coast up to the latitude of 44 and under
the Juan de Fuca in 1592 and under Admiral Fonte to the 55th degree in 1640 that was the Right to
the Crown of Spain to the Northwest Coast of America as shown in the Map in which the American
purchase from Spain recorded .that was the Red River runn from its source.

by this treaty "His Catholic Majesty cedes to the United States all his rights, claims, and pretensions to
any territories east and north of the said line and renounces all claim to the said territories for ever that
is the United States acquired by purchase the Spanish title to the Northwest Coast at the latitude of 42
degree . Chart I the 1774 voyage of the Santiago under the command of Juan Perez, from San Blas
Mexico to the northern end of the queen Charlotte Islands and Sailed north up to Dall Island, Alaska

RUSSIAN CLAIMS:

in 1805, Russian Officials founding of a post on the Columbia to prove that region from falling in
American Hand, in 1808 the Russian American Fur company claimed the whole coast to and beyond
the Columbia the Russian Claim in North America in which the United States Purchases including
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Alaska and the North West of America discover by the Great Russian navigator A. I. Chirkov
discovery to northwestern America reached the Commonder Islands, the Kodiak Island in August 1784
where a permanent settlement was beginning to colonies in America which the Federal Government of
United States Purchase from From Russia Starting From Alaska to all the land discovery in
Northwestern Passage. shown in Map.

the Cazar issued an imperial ukase ( 4 Sept. °1821) extending Russian claims along the pacific coast to
north of the 51st parallel ( which lay within the the Oregon country) and closing the surrounding
waters ( of which the most important was Bering Strait ) to the commercial shipping of other powers.
The Russian claim was challenged by Secretary of State Adams, who informed the Russian minister to
the U.S. ( July 17) " that we should contest the right of Russia to any territorial establishment on this
continent and that we should assume sistinctly the principle that the american continents are no longer
subjects for any new European colonial establishments" this principle regarding future European
colonization in the New World was to become more familiar after its incorporation in the Monroe
Doctrine . Under the treaty signed on 17 April 1824, Russaia agreed to a 54 40 line and withderew
the maritime restriction.

Acquisition of Alaska:

In Dec. 1866 Baron Edouard de Stoeckl, Russian Minister to U.S.; was instructed to negotiate with
Secretary Seward, an ardent expansionist, for the sale of Alaska, regarded by Russia as an economic
liability. A treaty for the-purchase of Alaska was submitted to the Senate ( 30 Mar.). the treaty was
ratified (9 April ) and formal transfer of " Steward's Folly " accomplished ( 18 Oct.)

Transfer of Fort Astoria, down the river on the 11th of April 1813, in gayest colors flying the British
flag, by the help of bark canoes of nineteen Canadian voyageurs they land under the guns of the fort,
commanded by McDougall who was by nature a cold - blooded man.

Briefly, affairs stand thus . Between the United States, whose languid protection was Fort Astoria's
downfall and the British under whose flag, the North West Company traded was war of occupation or.
By the treaty of Peace between Great Britain and the United States signed at Ghent the 24th of
December 1814, it was agree that all territory and places be immediately restored. In pursuance of
this agreement of the 18th of July 1815 James Monroe, secretary of state, notified Mr Baker Charge
D'affaires of Great Britain to the United States Giving the order of Restitution of Astoria Post to United
States, the Pacific Fur Company of New York by Astor in march 1811 founded Post Astoria under U.S
Right of Way Authority Land & Title.

1824 the message relating to foreign affaire

The MONROE DOCTRINE contained a major points:

(1) the American continents were no longer to be considered as subject for future colonization by
European powers

"POLK DOCTRINE"

at annual message to Congress, Polk urged Congress to take measures to protect the U.S. claim to the

whole of Oregon Country and proposed elaboration of Monroe Doctrine:

(1) "the people of his continent alone have the right to decide their own destiny,

(2) " We can never consent that European powers shall interfere to prevent such a union [ of
independent state with the U.S.] because it might disturb the " balance of power which they

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may desire to maintain upon this continent."
(3) "No future European colony or dominion shall with our consent be planted or established on
any

of North America continent.”

In 15 June, 1846 Polk | first message to Congress (2 Dec. 1845 ) claimed the hole of Oregon land ,
he called for extension of U.S. Jurisdiction over the Oregon settler , Military prosecution of the Oregon
Trail and established an Indian agency beyond the Rocky Mountain ,the resolution for terminating
occupation was introduced in the Senate and House passed ( 23 April ) Signed by Polk on 27 April
1846 , Authorized the President to give the required year's notice to the British had been served on 21
May, 1846.

Richard Pakenham, British Minister to the U.S. requested (27 Dec. 1845) renewal of the U.S. offer
of the 49 th parallel as the boundary of Oregon, President Polk refunded, furthermore Secretary
Buchanan ( 26 Feb.) then informed Louis McLane, U.S. Minister at London with U.S. discussion.

the new Ministry under Lord Russell had been adopted a conciliatory approach toward the U.S. Claim,
thereafter Lord Aberdeen, British Foreign Secretary, submitted his proposal in the form of a draft
treaty that reach Washington 6, June the U.S. Senate accepted and ratified on ( June 15 ) that was the
End of British Occupation in North America.

Before 2016 based on the finding of a Historical Document in support to the Claim of :

the OREGON DISPUTE based based on the law of Treaty between Government, the Oregon country

lay between the Rocky Mountains and Pacific Ocean, between the 42nd parallel and 54- 40 parallel

line furthermore_the treaties which the U.S. concluded with Spain (1819) and Russia (1824 )
narrowed the Oregon controversy to two Parties the U.S and the Great Britain . the disputed area was
the region north of the Columbia River and South of the 49th parallel, U.S. Claim were based on: No

Right of Hudson's Bay Company to Trade in Land, the Charter of Hudson Bay is a Fur Trade only, and

No Right to Claim any Part of United states land.

1. explorations of Capt. Robert. Gray, who in 1792 discovered and entered the mouth of the

Columbia
River, which was named for his vessel

2. Lewis and Clark expedition ( 1804 - 06 )

3. rights to the Pacific coast north of the 42nd parallel, under the treaty with Spain and the cost
south of 54 - 40 under the treaty with Russia.

4. the fur- trading Post of Astoria, established ( 1811 ) at the mouth of the Columbia by John Jacob
Astor head of the Pacific Fur Co., as the first permanent settlement along lower Columbia.

5. actual occupation by American settler ( including Methodist and Presbyterian missionaries, who
after 1841 came to Oregon in growing number, establishing settlements in the Willamette Valley
south of the Columbia River.

While the British Claims were based on (1) Nootka Sound Treaty ( 1790) under which Spain

relinquished some of her claims is wrong because it based on Treaty of Purchases by United States,

British Never Purchases any Land in North America From any Country thereafter their Claim is

unlawfully and_Dined

[ (2) voyage of Capt. Cook (1778); (3) explorations of Capt. George Vancouver ( 1792)who ascended
part of Columbia River shortly after its discovery by Gray, and Sir Alexander Mackenzie (1793) who
ascended part to Fur- Trading Co.]

Beginning with the administration of John quincy Adams, the U.S. government made repeated
offers to fix the Oregon boundary along the 49th parallel. British refusal stemmed form

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unwillingness to sacrifice the trade of the Columbia River basin, the Petitions or the establishment
of a territorial government were submitted to Congress by the people of Oregon and by State
legislators ._A meeting of Oregon setlers at champoeg (5 July 1843 ) adopted a constitution for a
provisional government to serve until the U.S. extended its Juridiction over Oregon

Hudson Bay file one
Richard Somerset Mackie,

1993 in his Doctoral of Philosophy Accepted by the Department of History of the University of British
Columbia on the above date against British Claim in North America as explain in details:

noted on "Page 2" that

the Company westernmost territories and the implication of new order for the native people of the
Region,

Noted on Page 3 that

in 1822 the London Governor and Committee involvement by the North West Company due to the start
of Northern Department of Rupert's Land on 1821- 1831 territorial occupation passing the date in 1840
where Douglas Speculated to extend fort on land by since North West Company Strategies on the lower
Columbia River starting in 1821 after the American trader vacate_ the North West Coast. by start of
trading policy toward Occupation and Political Claim to the Land. show in chapter | explain that the
Corporation Policy and Strategies adapted to Fur trade by Hudson Bay Company that Comprised _ the
Territory of the North - Central portions to present day.

page 5 explain that

the British commercial monopoly is the region would bolster Britain's territorial and political claim.
page 14 noted that

the term extending the trad referred to the company invasion of new territory by enforcing new method
starting from_London finance to private corporation to occupation.

“page 29" Noted that ;

the British Government's Royal Charter of 1670 had given the hudson Bay Company the Right to
develop the resources of Hudson Bay. in which " the Government granted the company the trade in furs
and other commodities" *** THE ENGLAND PRIVATE COMPANY CHARTER TO TRADE FUR
AND OTHER COMMODITIES.

Page 30 noted that

the charter then applied beyond the trade in Fur and the Crown also gave the company the entire trade

with native in Rupert's Land where_the colony Started in the North Western Territories to the Red
River Settlement on 1820- 1828 in which the Red Settlers wrote " If the English were to keep on

planting Colonies they should consider the Columbia Region.
Chapter 2 where the start of Commercial development after 1821 in Columbia Department East of the

Rockies and Yukon River .

Mackenzie transmitted to the British government a proposal entitled preliminaries to the Establishment
of a Permanent British Fishery and Trade in Fur & C on the Continent and West Coast of North
America.

page 68 noted that;

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on 26 March 1821 the Hudson's Bay Company, and North West Companies merged retaining the name
"the Hudson's Bay Company" the new company was British with strong ties to London.Lord Smisons
who put in place a version of Schemes ( System )

Page 51- 58 publicised by Dalrymple, Mackenzie and the North West Company.

age 59 explain that_the British government involvement in the Schemes of Occupation of American
Land for the new search for an empire of trade.

page 64 shows that the commercial extinction and colonization of the west coast of North America.

“ George Simpson who in charge of the north West Company, beginning by observations on speeches

in the house of lord and house in Common in London respecting that the Hudson Bay company trade

in Vancover Island, after the North West Company Control by Canadian in a new Charter for a new
Company, an Inheritance plan to new Caledonia and the Recognised to four new districts with the

Right to operating Post and_established Fort.
page 83 on the other hand stated that, the new establishment to Columbia "Depot
the Fur trader wrote in 1844 that "the Columbia Department extended from the Columbia to Russian

America and from the Pacific Ocean to Rocky Mountain.

"Page 109 wrote that_the Hudson's Bay Company that invaded the Pacific slope of North America after
1821 by inforce Commercial Policy toward Territorial Control under Simpson" Governor by British
Law order from London. to the Extension to South California and Honolulu, Hawaii."

page 153 George Simpsons, 1830 write that " I entertain sanguine hopes that before the expiration of 5

years_there will not be an American on the Coast.
" page 154 expiration that the private company commercial activities west of the Rockies after 1821

buttressed_Britain territorial and political claim the the region to control the cost .

page 194 noted that the expiration before 1843 the company's actions eliminated American fur traders
from almost every place they come in contact.

page 387 explanation that the joint occupancy, provisions of the 1818 convention subject to termination

by one year's notice in which in 1828 the Governor and Committee instructed Simpson
" to acquire as ample an occupation of the Country and Trade as possible on the North as well as the

South side of the Columbia under the Scheme of Commercial Policy.
page 414 Donald Ross, one of Simpson's most senior colleagues, recommended in 1848 that the

company sell or relinquish to the British Government all its territories and exclusive trade rights. page
427 expiration that British colonies ( Vancouver Island, 1849 and British Columbia 1853 would be

Columbia Department legally after the Oregon Treaty with American.

" the English word for "Warehouse" had Change its name to Columbia Department and Change its
neutral of work from trade fur to SIZE Rupert's Land, New Caledonia and other interior districts
Claim by the trading post settlement of the Canadian North West Company after the Merger in which
the occupation established by claim from Hudson Bay Company a private Company to United States of
American land by fraud and false claim without regard to national or and international Law.

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HUDSON BAY FILE 2

the Book of the history of the Oregon Territory and British North American Fur Trade by John Dunn
London 1844 Expansion that:

starting with Preface in which John Dunn Said that " I left_my father's home in London in their ship, the
Ganymede for their Settlement on the Pacific.

" the territory of the United States Commonly called the Oregon territory lying on the Pacific Ocean.
north of 42nd degree of latitude to a portion of which Great Britain lays claim scratches from the
Rocky Mountain to the Pacific Ocean.

Chapter one instated that the discovery of America first by Columbus and the right for great acquisition
resulting from the discovery goes to Spain.

England was the second nation that visited the New World for no Right to any claim to the extent and
importance of whose possessions have ever been only Second to those of any other State Spain
Formerly, and the Republic of America at Present.

"the Writer's statement that in Right to Claim, England comes after;

1- Spain

2- America

" Hudson's Bay Company" - its incorporation and its privileges as explained :

the Company was incorporated in perpetuity by Royal Charter, granted A.D. in 1670 by King Charles
II. it was granted to Prince Rupert. the Reason for creating this_ charter corporation to expedition to
Hudson's Bay for the discovery and prosecution of a trade in furs, minerals, other important
commodities and Gold Smith of the City of London.given them and their successors the sole commerce
and trade in all Sea, River in whatsoever Latitude they shall be, that lie within Hudson's straits, together
with all the Land.

page 10 explanation that his Majesty's Colonies was called Prince Rupert's Land the Government and
the Company were to be Lord Proprietors, and Repugnant to the Law of England, and no subject of the
British Crown was to be allowed to trade within the Company Territories without their written and
Sealed permission.

"page 11 "explain that; "the Company were empowered to appoint district governors and other
officers to Judge in all cases, civil and criminal, according to the Laws of England"

page 12 stated that ; " as 1630 yet, the French had no actual or permanent establishments, nor did they
claim the right of occupation of any portion of the interior

the East India Company an association that has kept on the tenure of its useful and prosperous .

page 13 stated that'" the jurisdiction and positions of the Company were confirmed, in all their former
plenitude even after the establishment of American Independence none of the Hudson's Bay territories
or of the waters running into Hudson's Bay were included in the lines assigned as the boundaries
between the possession of Great Britain and those of the United States

British- Canadian Fur Trade - Establishment of the North West Company and its organization
ebetween and the Hudson's Bay Company.

the start of_post occupation by Hudson's Bay Company and a partner in the
all admiral and other officers of the Crown were enjoined to lend their in assisting the execution of the

power granted to the Company by the Charter. North - West Company to the land by reinforced post by

the Canadian

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page 19 stated that; " Hudson's bay Company had received a royal grant, confirmed by Acts of
Parliament, of the vast extent of territory within or bordering on all the water that run into Hudson's
Bay,

page 38 explanation that ; the Hudson's Bay Company to establish and agricultural colony on American
land

page 63 written that; " when the North- west Company became merged in the Hudson's Bay Company
and their plain forthe settlement at Red River, and on a more extended scale

page 141 " Fort Vancouver is the headquarters , establishment , or grand depot of the Company, west of

the Rocky Mountains _founded in 1824 by Governor Simpson than the former depot - Fort George (or
Astoria )

page 162 stated that " the American having but little chance of defence as the Indians were sheltered by
the rocks and bushes were slain interestingly "

page 173 explanation that the company's servants as British Land Occupation.

The charter of 1670 made the Hudson's Bay Company 'true and absolute Lords and Proprietors’ of
Rupert's Land, the vast drainage area of the Hudson Bay basin.

I left_my father's home in London in their ship, the Ganymede for their Settlement on the Pacific.
the Ganymede was not his Father ship nor he owned it, no Name found for a passenger in the Ship by
John Dunn London 1844 No Ganymede left London in That Date also
John Dunn Was working as Clark in Hudson's Bay Company.

History of Reading Company —_" Liberty Train "
aka 4251/2 North Broad Street Philadelphia, Pa 19123

Starting from Philadelphia the Historical First Capital Land, traveling to George Washington, the
United States of America 2016 Federal Union Capital Land, at Union Station, Under the 50 Stars
Union Flag, and the flag follow the Law of the Land, the United States of America Constitution and the
Bill of Right. the sign Mark of " Isabella - Ferdinand " whom Grant to Finance Christopher
Columbus and inDomitable Give to Mankind A New Worled Born MCDXXXVI Died MDIV who
was the First to Discover the Realm under which Spain was the First to claim the Right to Land in
Accordance to long Altitude, the United States Federal Government, Purchases Spain Right to Land in
North America, the Sign Mark own by Reading Company, the owner of Pennsylvania Railroad,
Liberty Bill, on Federal Union Capital Land.

Philly and Reading Charter of the United States of America the First Capital land, the owner of
Railroad Charters Registry to the land of the United States of America Original 13 Commonwealth
States and the Private Federal purchase was under the Grantor to the Land owned by Reading Company
the owner of the Charters to NorthEastern Railroad land was the Original Boundary to Federal Union
land in each State's. | Reading Company the owner of Pennsylvania Railroad the Land Charted under
the Railroad Tract, since the Proprietor of William Penn Grant to the Land by King Charles II March 4,
1681, the Proprietor was the Grantor of William Penn, the Grants land to William Penn who received
a charter from Charles II on 10 Mar. 1681 in lieu of his father's claim against Charles debits, Under

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its terms Penn was made absolute proprietor, to the charter included specific limitation on his powers "
laws on Penn colony had to receive the approval of an assembly elected by the private Citizen, on date
of 1682 - 1704 Penn takes over Delaware , on 24 Aug. 1682 a grant to Penn of the region on the
western shore of Delaware Bay from new Castle to Cape Henlopen was made by the Duke of York,
who in fact lacked legal title to the area. Penn's control over Delaware was legal by the Charter of 1704
with the approval of the King. the land Register by Tract under RailRoad Registry Grantor under
Reading Company Corporation Registry, the Proprietor Landowner when Pennsylvania entered the
Revolution, Pennsylvania took over the Penn Family's Title to the Land by enacting the Divestment
Act of 27 November 1779 this to coupled with the termination of proprietor government, but
Pennsylvania revived it in 1782 as the only way to show primacy over Connecticut's claim to large part
of northeastern Pennsylvania today the Charter provides the historical basis for chains of title in
Pennsylvania real estate system, Reading Company is the owner of Northeastern RailRoad which went
bankruptcies in 1972, the Northeastern RailRoad Registry was the Charters Land of the Original 13
Commonwealth and Federal Private Purchases including the Charter land of the Federal Capital
Washington D. C. under Pennsylvania RailRoad & Penn Central Company and Ohio and Baltimore
Charters owned By Reading Company and the Land tract Under Reading Company, RailRoad
Registry. Reading Company the owner of Washington RailRoad Registry, including the owner of
Union Station in Which England Family violated the law of the Land Constitution Article, United
States President Executive order, violation the Confederate Article of Union and Article of
independence thereafter U.S. Congress Act S. 4017 Right of Way Authority to North America Railroad
Bed Land under the Fifty Stars Union law one land , the flag follow the law of the land, the United
States of America Constitution and the Bill of Rights. the Federal Mandatory Requirement for the
Protection of the Federal Union Capital " Gorge Washington" " District of Columbia " is United
States of America Capital Union Land is a 10 Square Miles protected by inforce the Federal Law of
Land & Title a United States of America Federal Registry System.

Reading Company Corporation is a Private Company, its Railroad properties as Registered protected
by a Federal Authority to enforce U. S. Congress Act S. 4017 under U.S. Right of Way Authority
Since 1998. Reading Company Railroad Police granted No trespass Sign to Railroad property in Fraud
and False Claim violations to Contract law as Mandatory Requirement by law between parties and
Reading Company Granted to Contract by United States of America Constitutional law, Federal,States,
County and its Subdivision of Municipality must protect United States Financial System, Bank
Institution, Mortgages to all the Debits Public and Private are Protected by Reading Company Federal
Financial Audit to united States Legal Tender in which the 2008 the Financial Meltdown under
investigation,in order to make collection in any part of the country or through their correspondence
association national and or international by Reading Company a Financial Auditing Private
Corporation, a Claim of Recovery will be filed in Accordance to United States Jurisdiction not limited
to any Country in which the Privateer caused the Financial Meltdown in Real Estates property in North
America including Canada and Worldwide to Dabits recovery public and or Private.

the Declaration Independence from England on July 4, 2015 by the owner of Chartres land of Reading
Company, the owner of North America Railroad Bed Land and its Right of Way including Utility
electric grid, telephone line, Water Line, and Gas Line which Had been Unlawfully compromise by
American Premier Underwriters and England Holding is Sized by U.S Right of Way Authority to
United States Government. all properties of Railroad and its Financial System protected by United
States Federal Law against Fraud and False Claim.

the United States exercise Jurisdiction rights in North America Continent including Canada which was
apart landform the Louisiana purchases from France, and also including the North West Territory,
Rupert land, the Hudson Bay Basin to its source and the British Columbia all land Part of North
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American Continent are under Reading Company Land & Title a Federal Registry System, which it
now holds and acquire the Registry Land to North America including the cost of Newfoundland in the
Gulph of St. Lawrence or elsewhere on the North American Coast northward not limited to Atlantic
and Pacific Coast, Lounge Altitude in Trading between the Contracting Parties for Commerce is
granted.

in order to remove all source of misunderstanding relative to object of Justice by court order thereafter
we have expressly agreed that each Government shall reserve to itself, its subjects or citizens
respectively, all the rights which they now have, and under which they may hereafter bring forward
their claims at such times as may be most convenient to them. and by other the said citizens whom
done damage to those of the other party by will be judge and if they act to the contrary they shall be
punished, also be bound in their persons and estates to make satisfaction and reparation for all
damages and the interest thereof, of whatever nature the said damages may be in order to satisfy all
damages and injuries which the said privateer, or her officers, or men, or any of them may do or
commit during their act contrary to the laws of United States must be punch. the Citizen of the United
States of America who may have the right by the law to demand compensation for the losses, damages
sustained to them on consequence of the excesses committed by contract parties under the Britain
subject to their action.

the case of ( Trustees of Dartmouth College V, Woodward, 4 Wheaton 518) United States Supreme
Court Chief Justice Marshal for the court, held that a charter to a private corporation constituted a
contract and was therefore protected under the contract clause of the Constitution against impairment
by state legislatures . The decision appeared to placed charters of existing private corporation outside
the scope of control by the states that had charter them as in Pennsylvania the charter of Phily and
Reading and Pennsylvania Railroad the owner of the Railroad to the first 9 and 13 States.

Mandated federal status of surveying of the United States maps by federal government agencies in
with the cooperation with state level government in order to inform the County register System of the
eachDuri States is Under the Federal Authority of U.S Right of Way Authority Railroad since U.S
Congress Act : S.4017 1972 line 300 feet and or more from both side of rail road line up to 1000 feet if
available and all Side entrance as Serverying instracture to the type of land to be part of instracture
plan for the United States of America serverying to Union Railroad line in North America.

U.S Right of Way Authority is the Highest Law Enforcement Officer Who Enforce the law of the land
by inforce the Independence from England and inforce the Fifty Stars Union Flag law on Washington
the Federal Capital Land.

Reading Company, Land & Title a Federal Registry System for Secure and Enforcement of Mortgage
Licensing Act of 2008 S.A.F.E, Mortgage Licensing Act" (12 United States Code, Section 5100, et
seq.), passed by Congress and signed by President G.W. Bush in 2008, required all states to implement
a Mortgage Loan Originator (hereafter: "MLO") licensing and registration system by August 1, 2009,
Reading Company Corporation the owner of Federal Land & Title Registry by Mandatory of Congress
Act to Land Owned by the United States of America Federal Government in North America

2011, 11011, 0=0 & =0=,202, 11=11, 2=2, 00=00 that was date & time of Revelation to end all mark
from Earth, and Starting Justice by God the Father, Order for the Preparation of Jesus Chriss
Resurrection and to inform all Earth Inhabitant, of the God Message of Justice, Liberty and freedom to
all his Creation on earth to live in Peace and love.

Right of Way Authority Sized the 31 Miles , a part Land From the State of Virginia was the United
States Federal Union Capital land by purchase from Virginia to erect the Federal Capital on 1792. the
flag will be Change from Virginia to Federal Union 50 Stars Flag, the Constitution followed the flag,
the Confederate Flag of Georgia had been removed from Government's Properties on 2015.

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the Confederate Flag of Mississippi will be removed under " Ferguson" Act., from all Government
Building on 2016.

in the matter of Hawaii, in 1842 the British consul, and illiterate man, incited by an ambitious British
subject, succeeded in involving the native government in difficulties that lead to the hoisting of the
British flag over the Land so Carefully was the affair planned that it was thought to be impossible for
the Natives and Americans to protest before the British Home government in London whom formally
approved of the action to the Flag by the British consul in Hawaii, the London Times published a letter
censured the Foreign Office for putting more faith in the representatives of a Yankee shop keeper than
in those of a British subject until new world order of 2011 to enforce the law of July 4, 1776.

the Flag of England will be remove from Hawaii , and Granted a New Flag.

U.S Right of Way Authority on 2016 order for the removal of England Flag by England Authority,

and the removal of Canada Flag, in which Canada stile under England occupation,

all the Land had Seized by North American Land & Title a United States of America Registry of Land
and the Citizen on the Free Land Granted their own choice of Flag at their own properties with United
States Federal Union 50 Stars on the top of any other Nation Flag, that was the Law of the Flag which
follow the law of the Land, the United States of America Constitution and the Bill of Right.

to NSM on Pragmatic Re@tings Nebé WothD@281-JEJ Document 1-3 Filed 02/17/16 Page 16 of 61

TREATY WITH GREAT BRITAIN, 1814.

quoddy as are ¢ aimed by both parties, shall remain in the possession of
the party in whose occupation they may be at the time of the exchange
of the ratifications of this treaty, until the decision respecting the
title to the said islands shall have been made in conformity with the
fourth article of this treaty. No disposition made by this treaty, as to
such possession of the islands and territories claimed by both parties,
shall, in any manner whatever, be construed to affect the right of either.

ARTICLE THE SECOND,

Immediately after the ratifications of this treaty by both parties, as
hereinafter mentioned, orders shall be sent to the armies, squadrons,
officers, subjects and citizens, of the two powers, to cease from all hos-
tilities. And to prevent all causes of complaint which might arise on
account of the prizes which may be taken at sea after the said ratifica-
tions of this treaty, it is reciprocally agreed, that all vessels and effects
which may be taken after the space of twelve days from the said ratifi-
cations, upon all parts of the coast of North America, from the latitude

2 of 3

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Immediately

on ratification,

orders to be sent

to armies, &c.

to cease hostili-

tes.

of twenty- degre
as far eastward in the Atlantic ocean, as the thirty-sixth degree of west

Tongitude from the meridian of Greenwich, shall be restored on each side :”

That the time shall be thirty days in all other parts of the Atlantic ocean,
north of the equinoctial line or equator, and the same time for the British
and Irish channels, for the Gulf of Mexico and all parts of the West
Indies: Forty days for the North seas, for the Baltic, and for all parts of
the Mediterranean: Sixty days for the Atlantic ocean south of the
equator, as far as the latitude of the Cape of Good Hope: Ninety days
for every other part of the world south of the equator: And one hun-
dred and twenty days for all other parts of the world, without exception.

ARTICLE THE THIRD.

All prisoners of war taken on either side, as well by land as by sea,
shall be restored as soon as practicable ufier the ratifications of this
treaty, as hereinafter mentioned, on their paying the debts which they
may have contracted during their captivity. ‘he two contracting parties
respectively engage to discharge, in specie, the advances which may

have been made by the other for the sustenance and maintenance of

such prisoners.

ARTICLE THE FOURTH.

Whereas it was stipulated by the second article in the treaty of peace,
of one thousand seven hundred and eighty-three, between His Britannic
Majesty and the United States of America, that the boundary of the
United States should comprehend all islands within twenty leagues of
any part of the shores of the United States, and lying between lines
to be drawn due east from the points where the aforesaid boundaries,
between Nova Scotia, on the one part, and East Florida on the other,
shall respectively touch the bay of Fundy, and the Atlantic ocean, ex-
cepting such islands as now are, or heretofore have been, within the
limits of Nova Scotia; and whereas the several islands in the Bay of

Passamaquoddy, which is part of the Bay of Fundy, and_the island of —

arth, to the latitude of fifty degrees north, and.

Limitation of

time of capture
in different lati-

tudes.

Prisoners of
wat to be ro-
stored.

Reference of
the boundary
established by
the treaty of
1783.

Tp

Grand Menan in the said Bay of Fundy, are_claimed by the United_

eee : . ‘
Reogan aa haing anvanenhandacl nithin dhate aGaeneeta hawnrineina eohiah

WANA BA
Ad MAAN

1/8/2016 3:33 PM

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bay of furfdasmd isr/ofGraGid shehabmapMBiigl-3 Filed 02/17/16

No results found for bay of fundy and island of grand menan
map.
Showing results for bay of fundy and island of grand manan map.

Images of bay of fundy and island of grand ...

bing.com/inages

See more images of bay of fundy and island of grand manan map

Grand Manan Island - Wikipedia, the free encyclopedia
https://en.wikipedia.org/wiki/Grand_Manan_lstand

Grand Manan Island (also simply Grand Manan) ... Map of Grand Manan Geology. ...
likely saw what is now known as Grand Manan and the Bay of Fundy.

Geography Geology - History - Notable people - Economy | Demographics

Grand Manan, New Brunswick - Bay of Fundy

www. bayoffundy.com/communities/new-brunswick/grand-manan

Southwest Head, Grand Manan. The Grand Manan Archipelago, part of the Fundy Istes,
is located at the entrance of the Bay of Fundy. Spend some time hiking or biking ...

Bay of Fundy. Map - New Brunswick - Mapcarta
mapcarta.com/Bay_of_Fundy

Grand Manan Island Grand Manan is a beautiful island, made up of several small
fishing communities. Loading photos...

Grand Manan Tourism

www.grandmanannb.convdirections.html

Getting to Grand Manan Island. ... a spectacular Canadian island in the world-famous
Bay of Fundy and close ... If you are staying on Grand Manan or participating ...

Grand Manan Island | Places to Visit | New Brunswick Canada
www tourismnewbrunswick,.ca/Products/G/Grand-Manan-lsland.aspx

... summer festivals, and scenic fishing villages on Grand Manan Island ... Grand Manan
is a perfect Bay of Fundy vacation destination, ... View Map Tel: 506-662-3442 ...

Island Bound Charters

istandboundchartersgrandmanan.com

ISLAND BOUND CHARTERS GRAND MANAN . Bay of Fundy istand Charters. ... Joan
& Russell Ingalls | Island Bound Charters Grand Manan| Grand Manan Island } ...

Grand Manan Fundy History

grandmananfundyhistory.com

The History of Grand Manan, the Fundy Region and the ... were identified in newspapers
with island connections but ... and the Region around the Bay of Fundy.

Grand Manan Island Map - New Brunswick - Mapcarta
mapcarta,com/Grand_Manan_lsland

Grand Manan {sland interactive map with photos, ... Grand Manan is a beautiful island,
... lSland; Location: Bay of Fundy, ...

Videos of bay of fundy and island of grand manan map
bing com/videos

64? 1.18 HD 4:10 $18

Bay of Fundy Grand Manan, Humpback Grand Manan
Travel Show #1 - New Brunswick, whales, Whales-n- Island
YouTube YouTube YouTube YouTube

See more videos of bay of fundy and istand of grand manan map

Your results are personalized. Learn more

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Island

“Grand Manan Island ~\

Hear 974, 2016 HERE.

1

Grand Manan Island is
a Canadian island, and
the largest of the

Fundy Islands in the
Bay of Fundy. Iti...

Area: 253.24 sq miles (655.89 km’)

Population: 2,460 (2006) |
i

People also search for See all (15+)
j

Campobello Saint John Prince

Island Edward
Island f

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Islands in Canada

Data from: Wikipedia - Freebase :

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http://www. bing.com/search?q=bay%200f%20fundy%20and%20island%200f%2... 3:31:39 PM_

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Canadian Pacific Railway (CP Rail)

put into service between Montreal and Toronto with a
streamlined contour that gave the railway a new look.
Canada’s rail passenger services are now operated by
VIA Rail Canada. See VIA Rait Canapa, INC.

Canadian National dieselization began in August
1925 with self-propelled diesel rail cars designed by C.
E. Brooks, chief of motive power and rolling stock, and
built in its Montreal shops. On November 1, 1925, one
of these cars, No. 15820, powered by a four-cylinder,
185-horsepower Beardmore engine, left Montreal for
one of the most dramatic experimental! runs in rail his-
tory. It made the 2937 miles to Vancouver in slightly
over 67 hours, setting a new transcontinental record. In
1928 Brooks and his associates developed Canada’s
first diesel-electric road loco, No. 9000,

CN found that the major operating savings of diesel
locos, compared with steam, were in fuel costs, plus sav-
ings in lubrication, enginehouse expenses, and long-term
repairs. Diesels were shown to have greater utilization
than steam in terms of locomotive miles per day and to
permit more flexible operation and to minimize the
smoke nuisance. Tests proved that the cost of operating
diesels on passenger runs was only one-third that of
steam on the same runs. After diesels had been placed
on the Super Continental and the Ocean Limited in
1955, 16 hours were cut off the transcontinental jour-
ney from Halifax to Vancouver.

The last steam loco in regular service was No.
6043, a Mountain type built in 1929 by Canadian Loco-
motive Co. at Kingston, Ontario, which completed her
final run with train No. 76 from The Pas to Winnipeg on
April 25, 1960, thus officially terminating 124 years of
steam on CN and its predecessors. However, Northern
type No. 6153, freshly painted, pulled two special
steam excursions on September 3 and 4, 1960, from
Montreal to Joliette and Ottawa, sponsored by the
Canadian Railroad Historical Association. Among the
many CN steam locos preserved and on display in
museums and parks across Canada and in the United
States is No. 6060 (Bullet-Nosed Betty), which as of
1979 is still operating steam excursions in Quebec and
Ontario.

BIBLIOGRAPHY: Ray Corley, Preserved Canadian Railway Equipment,
Railfare Enterprises, Montreal, 1972; Patrick C. Dorin, The Cana-
dian National Railways’ Story, Superior Publishing, Seattle, 1975;
Freeman Hubbard, Great Trains of All Time, Grosset & Dunlap,
New York, 1962; David P. Morgan, Canadian Steam, Ryerson
Press, Toronto, 1961; G. R. Stevens, History of the Canadian
National Railways, Macmillan, New York, 1973.

Canadian Pacific Railway (CP Rail) Prosperous
railway with long hauls and an excellent base of raw
materials. It is also a diversified company with assets of
almost $8 billion in land, sea, and air transportation,
telecommunications, natural resources, hotels, real
estate, and manufacturing and financial services. In
1970 it adopted new corporate designations for various

components of the transportation side of its operations:
CP Rail, CP Air, CP Ships, CP Transport, CP Express,
CP Hotels, and CP Telecommunications. In 1971 the
parent company was renamed Canadian Pacific Limited
and Canadien Pacifique Limitée, but the railway is still
known as CP Rail and Canadian Pacific.

As of 1979, CP Rail operated 23,518 miles of track
in Canada, including yards, spurs, and sidings, and it
controlled another 4600 miles in the United States. It
has 1300 diesel locomotives, over 65,000 freight cars,
and approximately 40 pieces of commuter passenger
equipment. In 1906, by comparison, it had 1115 steam
engines and a total of 37,080 cars, freight and passen-
ger, its freight-car fleet then being much less diversified
than today’s. The railway has developed a sophisticated
unit-train system for moving bulk commodities such as
coal and sulfur and at Calgary has one of the world’s
most advanced automated classification yards to handle
freight shipments to and from the Pacific Coast. It jointly
owns Brunterm Ltd., a giant container terminal at St.
John, New Brunswick, which had an annual growth of
15 percent during the 1970s. It also operates commuter
passenger services, but intercity and transcontinental
passenger trains are provided by a new government
agency. See VIA Rait Canapa, INC.

The terms of union whereby British Columbia was
admitted to the Dominion of Canada in 1871 had a
clause that led eventually to creation of the Canadian
Pacific Railway. Predecessor lines had already done
considerable tracklaying before the big company was
chartered on February 16, 1881, to build a transconti-
nental railway linking eastern Canada with the Pacific
Coast. For details of mainline construction between
Montreal and Port Moody, British Columbia, completed
on November 7, 1885, see Van HORNE, WILLIAM
CORNELIUS,

The distinctive emblem formerly used on CP rolling
stock, timetables, stationery, etc., was a shield with a
beaver, typical of Canada, just as the Intercolonial Rail-
way herald had a moose head, the Great Northern a
mountain goat, and the Pennsy a keystone. But the days
of picturesque rail insignia are almost completely gone.

CP Rail’s oldest predecessor line was the St. Andrews
& Quebec Railroad, chartered in March 1836, Its oldest
constituent in the United States was the Connecticut &
Passumpsic River, chartered in October 1843. Its oldest
still-operating constituent is La Compagnie du Chemin
a Rails du Saint-Laurent et du Village d’Industrie, a 12.
mile line downstream from Montreal on the St. Law-
rence River, chartered in July 1847 and opened on May
1, 1850, with strap-iron rails laid on wooden crossties.
The big road is still using Canada’s first railway tunnel,
% mile long, opened on December 31, 1860, under the
town of Brockville, Ontario.

With CP’s incorporation, it received —as railway con-
struction was completed on the line to the Pacific
Coast—grants which eventually totaled $2 million as

under US Aig tr Jay A Kaori

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well as 25 million acres of land, plus certain rail lines
already contracted for by the Domigjon government,
upon their completion. On February 17, 1881, the
Canadian Pacific Railway Company was organized with
George Stephen as president, Duncan McIntyre as vice
president, and James J. Hill on the executive commit-
tee. In 1882 it acquired the Dominion Express Company
charter, enabling it to engage in local pickup and deliv-
ery services, which launched CP’s widespread involve-
ment in highway transportation. In that year, too, CP
began commercial telegraph operation, using its railway
telegraph lines. See HILL, JAMES JEROME.

Also in 1882, Hill resigned from the board as a result
of CP’s decision to keep its mainline completely in Can-
ada by building around the north shore of Lake Superior
instead of using Hill’s lines through Sault Ste. Marie, St.
Paul, and Minneapolis to Emerson, Manitoba. In the
same year, CP took control of the South Eastern Rail-
way, which became the nucleus of its lines in eastern
Quebec and its route across Maine to the Maritimes. It
also leased a rail network around Toronto and in eastern
Ontario.

The first engine used in Manitoba and on the Cana-
dian prairies was the 38-ton Countess of Dufferin, a 4-
4-0 woodburner, brought in by a contractor building the
line between Selkirk and Emerson. She came up in
1877 over the Great Lakes to Port Arthur, then was
barged to Duluth, rolled on her own steam to St. Paul,
and was transferred to another barge for the trip up the

Red River to St-Boniface, Manitoba. Jt was a long,

roundabout route, but no shorter one was available.
That engine has been preserved. After being displayed
for years just outside the Winnipeg station, then at sev-
eral other city locations, she is now in storage at CP
Rail’s Weston shops. Another pioneer locomotive, the J.
C. Haggart, was dragged over the ice of the Red River
between St-Boniface and Winnipeg in December 1879
to start construction westward across the prairies in the
spring.

The first transcontinental train to cross Canada pulled
up at Winnipeg station on July 1, 1886, Dominion Day.
From the engine front flapped a silk Union Jack, frayed
by the wind and weather of half a continent. On August
10, the train reached Calgary. At a dinner there in Van
Horne’s official car, Father Lacombe, a Catholic mis-
sionary, was made president of CP for one unique hour
because of his help to the railway as liaison with Indian

tribes whose land the company wanted to cross. That

December the railhead reached the Rocky.Mountain
summit in Kicking Horse Pass. - 5

On November 11, 1885, the railway’s last spike (of
iron) was driven in Eagle Pass in the Gold Range, British
Columbia, by Donald A. Smith, one of the directors; and
Van Horne made his famous 15-word speech: “Alll can
say is that the work has been done well in every way.”
Next morning, a special train of CP “brass collars”
reached Port Moody at Pacific tidewater, the first train

Canadian Pacific Railway (CP Rail)

to cross the country from ocean to ocean. At 8:00 p.m.

the first regular train, the Pacific Express, with coaches,

a sleeper, and a diner, left Montreal for Port Moody.

After making the first scheduled rail journey across the

Dominion (then the world’s longest scheduled train trip),
it pulled into its destination at high noon, on time.

In 1888 CP completed its short line across northern

tnt
«Maine to Mattawamkeag, connecting with the Maine

~~ Central Railroad, which carried traffic to the New
Brunswick boundary at Vanceboro, there turning it over

to the New Brunswick Railway. That railway was leased
to CP in 1890.

By that time, CP had a transpacific steamship ser-
vice. In 1889 the British government gave it a 10-year
contract to take mail between Vancouver and Hong
Kong. In 1891 three splendid CP ocean liners, the
Empress of India, the Empress of China, and the
Empress of Japan, made maiden voyages to the Orient

via the Suez Canal; and the company advertised tours:

“Around the World in 80 days— $610.” In 1903 CP

entered the North Atlantic steamer service.

The company kept acquiring rail lines and other facil-
ities and buying or building vacation luxury hotels. In
1902 the Imperial Limited, a new, faster transcontinen-
tal train, was inaugurated, running at first three times a
week, then on a daily basis. It supplemented the original

daily Pacific Express (westbound) and Atlantic Express

(eastbound). In 1905 CP acquired the Esquimalt &
Nanaimo Railway on Vancouver Island.

In 1919 the Trans Canada Limited, an all-sieeper-
diner train, made the first trip between Montreal and

‘

Toronto and Vancouver. In 1926 Dominion Express Co.
was renamed Canadian Pacific Express Go. and the

Prince of Wales and British Prime Minister Stanley Bald-
win opened Toronto’s new Union Station. Three years
later the Northern Alberta Railways (857 miles) was
incorporated for joint operation by CP and Canadian
National Railways (CN). In 1933 some passenger-train
service was pooled between CP and CN.

Cn a test run on September 18, 1936, a new CP

Donald A. Smith,
shown bending over
with a spike maul,
was one of three
officials who drove
the last spike in the
Canadian Pacific
transcontinental
line at
Craigellachie,
British Columbia, on
November 11, 1885.
[CP Rail}

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*« Canadian Symbols -

http://www. protocol.gov.bc.ca/protocol/prgs/symbols/symbols.htm

Symbols of BC

-Provincial Flag
-Flower

-Bird
-Mammal
-Gemstone

Use of "British
Columbia”

- description

- application form (PDE)
- application form (Word)

Provincial Symbols

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and Honours Act

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Official Symbols of British Columbia

British Columbia's Coat of Arms

The shield of the province of British Columbia was originally
granted by King Edward VIl in 1906; the remaining elements of the

~FGat at Arms were subsequently granted by Her Majesty Queen

Elizabeth II on October 15, 1987. A complete history is available

Canadian Heritage

jae The supporters, the stag and the ram, represent the former.
Oo

It consists of Several elements that hold historical, geographical and
cultural significance for British Columbia:

on the shield symbolizes our colonial origins. Ourc et \

geographic location between the Pacific Ocean and the Rocky
Mountains is represented by the wavy blue and silver bars and t
setting sun.

pa

CYa SS
Row

colonies of Vancouver Island and British Columbia. The stag (elk)
represents Vancouver Island and the ram (bighorn sheep)

represents the mainland of the Province.

————
The Royal Crest (the crowned lion standing on the crown), wears a
collar of dogwood flowers, and sits atop the golden helmet of
sovereignty. Traditional heraldic elements of a wreath and mantling
represent Canada's national colours. The golden helmet of
sovereignty is placed between the shield and the crest to mark

B.C.'s co-sovereign status in Confederation _____S> 2
Our provincial flower, the dogwood, appears a second time

entwining the Latin motto "Splendor Sine Occasu" which translates
as "Splendour Without Diminishment."

[Top \

11/24/2015

Canada provifeesel 8676187 MOFHé:-CbnhdDpowmees 1867-F8A0 Get WMikinteédacCdinal.61Page | of 1

+ Russian America

“| fRussia)
United States j laska}
: (efier October 4 BBD) f

“North-Western
Territory
: (oe ee } a

Labrador
(eegendency of
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-Columbia a ee ae Newfoundlan
(United Kingdom) : : : , We : Hee lewfoundiand

~- Rupert's Land

Map of the provinces of Canada as they were from 1867 to 1870. On

More details|

July 1 1867, the Dominion of Canada was created from three prov!

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North-Western “ Information
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Miquelon
fant] (France)

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C1 otner courtoes ow Scotia
Provinces of Canada Brunswick

July 1, 1867 to July 15, 1870

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Summary 2 States Ur ha GoVerMenr

| Map of the provinces of Canada as they were from 1867 to 1870. On July 1 1867, the Dominion of Canada was
“created from three provinces of British North America: Canada (split into the provinces of Ontario and Quebec),

New Brunswick, and Nova Scotia. On July 15 1870, Rupert's Land and the North-Western Territories were ceded to,

_m__ Canada, and became the North-West Territories“a small square of this was made the province of Manitoba. Note

__ that, to make for simpler mapping, the western and southwestern portions of the 1927 Privy Council ‘Coast of

7 Labrador" boundary is used. For the southern boundary, from River Romaine east, Quebec's version of the boundary

: a is used. Until 1927, Canada recognized only a tiny sliver along the Atlantic Ocean as belonging to Newfoundiang.

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NORTH AMERICA
AFTER 1748
British EGG Dipueed BrFr claim:

[_]French [7] Non disputed Fr. claim,
Spanish [-"}Non-disputed Sp. claim

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Case :1:16-cv-00281-JEJ “Document 1-3. Filed 02/17/16 Page 25 of 61
OUR COUNTRY FRENCH AND INDIAN WAn.~

from four,to twelve years, which is a long time
fighting. They are known by the names of English
' rulers at the time,— King William’s War (1689), Queen
Anne’s War (1702), and King George’s War (1744).

In one respect they were all horribly alike. While ©
our home-makers were peaceably at work, suddenly a
horde of savages led by French officers would sweep
down from New France. They struck without warning ;
commonly they struck in the night; with inhuman
cruelty they killed old and young, men and women,
even babies in the cradle. A few women and children
might be taken captive. Those who could not keep
up with the swift march when the savages fled back
to New France were killed and left beside the trail.

Such was the warfare waged against our colonies.
In our larger histories you may read of Deerfield,
Haverhill, Dover, Schenectady, and other towns that
suffered the horror of French and Indian attacks, but
nothing of hundreds of lonely settlements that saw
their homes burned, their fields laid waste, and their
- people killed or carried away captive. No history is

big enough to tell that frightful story.

Ohies were thus hemmed in kg enemies, — the French to
the north and the west, and the Spaniards to the south.

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enemies
The English colonies (shaded area), with French enemies to the north and

west, and Spanish enemiés to the south. Crosses represent the main

forts built to control New France

WASHINGTON AND THE OHIO

Before the third French and Indian war a boy
named George Washington was born in Virginia (in
1732). Americans’ still honor his memory by making
a holiday of his birthday.

First Three Wars. These all began in Europe; that
is, France and England went to war there and brought
their quarrel over to our colonies. Each war lasted

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(1783) ERA OF THE AMERICAN REVOLUTION

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ERA OF THE AMERICAN REVOLUTION

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(1782)

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12 Apr. PEACE TALKS BEGIN IN
PARIS. Richard Oswald, named by
the Rockingham ministry to open peace
negotiations awith-she American _commis-
___sioners, began talks with Franklin (12
““Apr.), at that time the only commis-
sioner present in Paris. The British re-
<j leased Commissioner Henry Laurens,
‘O whom they had captured (3 Sept. 1780)

__treaty of commerce and friendship » with
the Netherlands (8 Oct.) ~~

27 Sept. START OF FORMAL NE-
GOTIATIONS. On 23 June, John Jay
arrived from Madrid to join Franklin in
Paris. Adams arrived on 26 Oct. (Lau-
rens took no part in the Paris discussions
until the preliminary peace treaty was

independence) and opened formal nego-
tiations with. Franklin and Jay.

30 Nov. SIGNING OF THE PRELIM-
INARY ARTICLES OF PEACE. On
5 Oct. Jay presented Oswald with the
raft of a preliminary treaty, to become
effective when a similar treaty was
signed by Britain and France. Upon the
basis of these preliminary articles (which
did not include an earlier demand by
Franklin that Canada be ceded to the
U.S.) negotiations continued. Oswald
was joined by Henry Strachey (28 Oct.).
About 1 Nov. the 3 U.S. commissioners
(Adams was now on the scene) decided
to disobey Congress’s instructions con-
cerning full consultation with the French
and to proceed on their own initiative.
A new set of articlés was agreed to on 5
Nov. With a few last-minute changes
these constituted the preliminary treaty
of peace signed by Oswald for the British
and by Adams, Franklin, Jay, and Lau-
rens for the U.S. Without a single
change these articles became the defini-
tive peace treaty signed 3 Sep 1783,
Its most important provisions: (a) B

ain recognized U.S. independence ; >
boundaries the St, Croix divi
Maine_and_ Nova Scotia; the St. Law-_
rence-Atlantic watershed divide, the 45th
parallel, a line through the Great Lakes
and their connecting waterways, and a
line from Lake Superior to the Missis-
sippi dividing Canada and the, U.S.;
line through the middle of the Missis-
sippi River south to the 31st parallel to
be the boundary with Spanish Louisiana;
and the 31st parallel and the Apalachi-
colaand St. Mary’s Rivers as the bound-
ary Wi Spanish Florida (Spain ob-

tained Florida fro, ~Britain in the final
peace treaty). de

accustomed

ova Scotia:
f all debts shee eaten of either
eotintry by citizens of the other were
validated :@) Congress was pledged to
“earnestly Yécommend” to the legisla-
tures of the states a full restoration of

fs and property of the Loyalists;

i lly completed in Nov., and Jeffer-
land, and sent virtua. To?
So and imprisoned in Englan son, the 5th commissioner named by
him to The Hague to sound out John 3 ‘d M hile
co d to con- Congress, did not serve.) eanwhile,
(| Adams. Laurens arrived in time s
ratulate the latter on obtaining recog- Rockingham had died and was suc-
> nition by the Netherlands of U.S. inde- ceeded by the Earl of Shelburne as head
© pendence (19 Apr.). Before leaving for of the British ministry (1 July). On 19
oO Paris, Adams followed up this success Sept. Oswald was . uthori L at
by obtaining a loan of about $2 million with the co a the “13 US.
oS from Dutch bankers (11 June) and_a_ (tantamount to recognition of American
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% Ceded,1802 | Db, aoGgCuU'
5 \ GEORGIA
Claimed by sean UNITED STATES
| _United States & Georgia} AFTER 1783
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hostilities were to cease and all
and and sea forces evacuated

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Vergennes, taken aback the ex-
tremely favorable terms obtained for the
U.S., criticized the commissioners (15
Dec.) for signing without consulting
him. However, his own desire for a
speedy settlement of the war and a tact-
ful reply by Franklin (17 Dec.) pre-
vented serious discord. 1 :

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1783

20 Jan. EFFECTIVE DATE OF AR-
TICLES OF PEACE. The Anglo-
American preliminary treaty was not to
go into effect until Britain reached a
settlement with France. On 20 Jan. pre-
liminary articles of peace were signed
between Britain and France and by Brit-
ain and Spain. Provisions were then
made for a general armistice and on 4
Feb. Britain proclaimed a cessation of
hostilities.

10, 12 Mar. NEWBURGH AD-
DRESSES. Early in Jan. a delegation
of army officers memorialized Congress
regarding grounds of their discontent:
arrears in pay, unsettled food and cloth-
failure to
make provision for the life pension of
half pay from the time of their discharge
promised them 21 Oct. 1780. Their fail-
ure to obtain assurances of payment of
sums owed officers and to secure a com-
mutation of the pension for 6 yrs.’ full
pay (rejected 25 Jan. by Congress) led
to the first anonymous address to the
officers of the army circulated at Wash-
ington’s main camp near Newburgh.
Written by Maj. John Armstrong (1758—
1843), the address attacked the “cold-
ness and severity” shown by Congress,
advised the officers to assume a bold tone
and “suspect the man who would advise
to more moderation and longer forbear-
ance,’ and called upon them to meet
the next day (11 Mar.) and draw up a
“last remonstrance” which, if not well
ived by Congress, would justify the
army Br defying that body. Armstrong’s
call for pressure on Congress had the
backing of . Gates, Gouverneur
Morris (1752-181 and other civilian
leaders who hoped to™coerce the states
into yielding more powerto Congress.
The address was well received by many

but Washin “eS

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CHAPTER XIV.

UNION OF THE NORTHWEST AND THE HUDSON'S BAY COM-
PANIES, AND THE SUBSEQUENT CHARTERS.
1803-1846.

Ert LanD—BouNDARY, NOT

TrrLE oF THE Hupson’s Bay Company T

PTE, THE QUESTION IN DisputE—JvRIspDIcTION oF CourTs—RvIN

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"were united has nowhere been told.

rrom Rrvatry Imminent—-TaE NortHwest Company’s OPpPosITION TO
Lorp SELEIRK AND HIS COLONIZATION ScHEME—THE Two CoMPANIES
BEFORE PaRtiament— THE Muvisrry InTERPosE MepraTIon — THE
QuEsTION oF COMPROMISE DEBaTED—TeRMs of Union—Passace oF
qcHe Act EMPOWERING THE CROWN TO GRANT Excuustve LicENSE OF
Trape—THeE Grant or 1821—THE ASSIGNMENT IN 1824 or THE NorTH-
west CoMPANY—THE Deep-Pout or 1834—THE RENEWAL OF LICENSE
in 1838—THu SETTLEMENT OF THE BOUNDARY Qusstion In 1846—THE
Grant oF VANCOUVER IsLAND IN 1849,

Iv has been many times mentioned that in 1821
the Northwest Company and the Hudson's Bay
Company became one corporation; how the companies
has After quiet oc-

. cupancy for a hundred and fifty years, the title of _
: ompany to Rupert Land might

scarcely be questioned by a riva (association. Al-
though France claimed the when the charter

of Charles Ll. dated the 2d of May 1670

and although the grant never had been permanently
ratified by parliament,. claim of the adventurers
@noland had been tacitly acknowledged by govern-

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THE CHARTER.

was afreb and absolute gift, subject to revocation on
by the power that made it, exclusive in its term
and requiring the recognition of royal authority on]
by a promise to pay the grantor or his successors tw
elk and two black beaver, whenever one of the
should enter the territories so granted._ The con
pany might ¢éolonize wherever they chose, appoir
governors, make laws, and administer justice. Ov«
the natives of the granted territory their power w:
absolute, involving life or death; their own peop
they might punish in minor matters, or even for hig
offences if no appeal was made to England. If suc
appeal was made, the company must send prisone:
thither; likewise subjects of Great Britain, othe
than those employed by the company, found withi
the territory, might be arrested and sent to Englan
The fact that King Charles might as righteousl
have granted his cousin Rupert land in France, «
ltaly, or Saturn, or the sun, as round Hudson Ba
made no whit difference, so long as the protectic
which backed his gift was strong enough to brea
down opposition.

The chief question in dispute between the adver
turers of England and the merchants of Montreal w:
not one of title to Rupert Land, although the Nort]
west Company did claim that the grant of Charl

IT. was invalid, lacking the sanction of parliamen
“An act confirming the charter was passed by Parli

ment in 1690, but for seven years only, and no longei

An attempt was made to renew the charter at the e

Martin, The Hudson’s Bay Territories, 45, asserts that this act makes t
grant perpetual, yet in the same breath he admits that it expired at the ¢
ofseven years, ‘Mr M. Martin says ‘‘forever.” He puts these words in itali
and would leave readers who do not refer to notes at the foot of a page,
small type, with the belief that the charter of the Hudson’s Bay Company ¥
confirmed by Parliament forever. There caunot be anything more grossly 1
true.’ Fiteyerald’s ¥. £., 03. The truth of the matter is that the bill w
drawn making the charter to hold forever. The House of Commons decid
it should be valid but for ten years. The House of Lords ent the time do

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INTRODUCTION

J ment after 1870 have appeared.2® But the current economic interests a

needs of aboriginal people are changing all of this. Resource depletion a
state intervention for conservation purposes have eroded the aboriginal a
treaty rights of many First Nations. Their efforts to redress these loss
through comprehensive and specific claims negotiations and litigation <
generating reams of supporting research into the modern fur trade. Inni:
old insights, especially those of the closing section of The Fur Trade
Canada, are proving crucial for this new area of Canadian and First Natio
history.

When Robin Winks penned his foreword to a revised edition of this bor
in 1961, he could not have anticipated the degree to which new fields of hi
torical inquiry would continue to debate and mine the research findings ai
insights found in this single book. Two decades later, on the fiftieth annive
sary of the book’s publication, Irene M. Spry, an economic historian a1
former student and colleague of Innis, wrote: “Since [the publication of 7)
Fur Trade in Canada] much new work on the fur trade has been done b
Innis’ pioneering analysis remains of basic importance, not only in relatic
to the fur trade itself, but for the light it throws on many current social ar
economic problems.”%° Two decades later, Spry’s observations remain vali.
Innis’s great book remains essential reading for the study of Canada.

Arthur J. Ray

Department of History, University of British Columbia
1998

22For a general overview based on an extensive surve

y of Hudson’s Bay Company records
see Arthur J. Ray,

The Canadian Fur Trade in the Industrial A ge (Toronto, 1990). For case stud
ies see Bishop, The Northern Ojibwa, Robert Jarvenpa. The Trappers of Ptuanak: Toward #
Spatial Ecology of Modern Hunters (Ottawa, 1980); Tough, “As Their Natural Resources Fail.
Some regional history includes the pre- and post-1870 era. See, Bishop, The Northern Ojibwa
and Kerry M. Abel, Drum Songs: Glimpses of Dene History (Montreal, 1993).

3°Spry, “Innis,” p. 291.

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Chart |. The 1774 voyage of the Santiago, under the command
of Juan Perez, from San Blas, Mexico to the northern end of the

wee “~~Queen Charlotte Islands, British Columbia, Canada.

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The Santiago left San Blas on January 25, witha
crew of eighty-eight men and twenty-four passengers bound
for northern California. However, by March structural
problems arose with the new ship, and they spent twenty-
five days at San Diego making repairs. After stopping at
Monterey for another twenty-six days, they continued their
voyage northward.

Their orders were to go to 60° north, however, on
July 19, they turned and headed northeast hoping to find
land and take on fresh water. Many crew members were
sick. That same afternoon they sighted land. It was the
northern tip of Langara Island, the northernmost island of
the Queen Charlottes. They were greeted by Haida Indians
who came out in their canoes to trade. Pérez commented
that these people seemed accustomed to trading brought out
items for trade and fresh water for the ship. The Spanish
did not go ashore to visit the Native settlement. When the
winds increased, Pérez left and sailed north. They were just_
south of Dall Island, Alaska when they turned to the south
and sailed along the west coast of the Queen Charlotte
Islands. By August 3, they were west of Vancouver Island.
Approaching the coast, they were welcomed by canoes of
Nuu-chah-nulth Indians. The Spanish noticed that their
dress, appearance and language were different from the
Natives they had met earlier.

Pérez named this bay Surgidero de San Lorenzo -
the Anchorage of Saint Lawrence.
In 1778, Captain C ook renamed this s ound, “‘ Nootka.”
During the Nootka Controversy in 1789, Martinez could
prove that the Spanish had first claimed that area because
Cook had reported that the Indians traded him a silver
spoon. It was a spoon that they had stolen from Martinez

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xlii. ¢ INTRODUCTION

(1615-1616), William Hawkridge (1625), Luke Foxe (1631-1632), and
Thomas James (1631-1632) and the disquiet expressed by Sir William
Monson, Hudson’s discovery of the bay set the pattern of the search for

the next 150 Fe

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THE HUDSON’S BAY COMPANY AND ITS
DETRACTORS (1668-1791)

French participation in the search for a northwest passage was slight

after the voyages of Giovanni_da_Verrazzano-and_tJacques Cartier, _

whose St. Lawrence discoveries had momentarily promised a navigable

route westward, but his hopes had vanished just south of Montreal in
the narrow rapids that a century later were given the ironic name La
Chine—China. From then on, French discoveries were strongly influ-
enced by Indian stories of a great inland sea linked to the Pacific by
various waterways and, apart from the travels of a few Jesuit missionar-
ies north to Hudson Bay, exploration was directed west and southwest
of New France. But if French zeal for knowledge of the Arctic lagged
far behind English preoccupation with a northern passage to China,
they were able to build up a predominant position in the fur trade. The
relative accessibility by New France to the fur country of the north gave
them a supremacy that could not conveniently be challenged, y that
is, until the arrival in England of Groseilliers and Radissoryin 1665._.

/

Médard Chouart, Sieur des Groseilliers, and his brother-in-law Pierre —~

Esprit Radisson, two adventuresome coureurs de bois, had been heavily
penalized by the colonial authorities in New France for flouting the bu-
reaucratic system of licenses imposed on traders venturing into the inte-
rior in search of valuable beaver pelts and other furs. Frustrated and
angry at their inability to obtain redress in France, they contracted with
Boston shipowners to convey them to Hudson Bay, in their eyes a more
advantageous loading point for merchantmen to the fur country. Were
their plan to succeed, the French hegemony of the profitable European
fur trade would be gravely imperiled, dependent as it was on the long
circuitous route by canoe via the Great Lakes and the St. Lawrence
River.

Although their New England venture came to naught, Groseilliers
and Radisson’s plans came to the attention of George Cartwright, a

INTRODUCTION ¢ xtliii

royal commissioner in Boston in 1664. He subsequently made a report
to Lord Arlington, one of King Charles’s inner circle of ministers.

Hearing also some Frenchmen discourse in New England of a passage from
the West Sea to the South Sea, and of a great trade of beaver in that passage,
and afterwards meeting with sufficient proof of the truth of what they said,
and knowing of what great endeavours have been made for the finding out of
a north-west passage, he thought them the best present he could possibly
make His Majesty, and persuaded them to come to England.”

The two Frenchmen arrived at an opportune moment. After twenty
years of political strife and civil war, courtiers, financiers, merchants,
and investors were now able to devote their energies to overseas enter-
prises. The plan now laid before them enjoyed, in the words of the offi-
cial historian of the Hudson’s Bay Company,

the tradition of the North-west passage to Cathay, a tradition as inherent and
as important in the British approach as the tradition of the Inland Sea was in
the French. Despite a century and a half of disasters the idea still ruled men’s
minds; it has never become a mere convention to which lip-service must be
paid before more practicable projects were broached. It was a seriously held
and warmly supported concept, and any project which embodied a further
attempt to discover the North-West passage was certain of influential support
in Restoration England. It would be backed by the scientists, the Admiralty,
and the vast financial and political interests. It would claim support from all
who were filling the debates in Parliament, the pamphleteering press and the
coffee-house gossip, with discussions of the best methods of organizing our
trade on a balanced imperial basis.'°

On Groseilliers’ exploratory voyage of 1668-1669, before the company
was formally chartered, trade was given priority over discovery, but a
passage to the South Sea was to be sought if the opportunity should
arise. It is also clear that Groseilliers and Radisson had embroidered
the story of their wanderings to intrigue their English audience. Their
instructions read:

You are to have in your thoughts the discovery of the Passage into the South
sea and to attempt it as occasion shall offer with the advice and direction of
Mr. Gooseberry and Mr. Radisson, or one of them they having told us that it
is but 7 daies paddling or sailing from the River where they intend to trade
and Harbour unto the stinking Lake and not above 7 daies more to the Streight
which leads into that sea they call the South sea from thence but forty or fifty
leagues to the sea it selfe in all which Streight it Ebbs and flows by means
whereof the passage up and downe will be quicke and if it be possible you

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328 THE OREGON QUESTION.

north, that is, no title at all, unless followed by actual

occupation.

. Russian officials of high rank favored the

founding of a post on the Columbia, to prevent that

rom fallmg into American hands, but not ing
was accomplished in this direction.

In 1806~7 the boundary east of the mountains was

again the subject of negotiation ; and by a treaty, like

the preceding ones never ratified, though approved by

both governments, it was fixed on the parallel of 49°,
as far westward as the _possessi

“by either beyond the
able that President Jefferson o yected to the last con-
dition as “an offensive intimation to Spain that the

claims of the United States extend to the Pacific
Ocean.” » The choice of 49° seems to

bcs, ( h have originated

| PEX= im an erroneous impression from certain old maps that
{/ such was the xed between French and English

j possessions in 1713.

| | in 1806 two forts were established on Fraser and

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Stuart lakes respectively, and having founded Fort
George in 1807 at the confluence of the Stuart and
Fraser rivers, in 1808 the two adventurers who had
named those streams went down the latter to its
mouth, in latitude 49°.
It was also in 1808 that Russia made some com-
aints respecting the movements of American traders;
and in the negotiations which resulted, it was stated
nat the Russian American fur company claimed the
whole coast to and beyond He Columbia.
The Missouri fur company hay hg been organized in
1808, Henry, one of its agents, founded in_1809 a
=post on the Henry branch of Snake River in
——abeut_44°, 118 was the first establishmen yy Citi-
zens of the United States west of the Rocky Moun-
tains; but on account of Indian hostilities it had to be
abandoned in 1810.

The Winships of Boston attempted in 1810 to estab-

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/ INTERIOR POSTS. 3

lish a trading-post on the south bank of the Columbi.
/ about fifty miles above its mouth; but the scheme w:
; abandoned on account of the hostile attitude of tl
f natives.
In 1810 Thompson, of the Northwest Company, afte
~~ explors é river that bears his name, wintered nes
the junction of Canoe River and the main Columb;
in about 52°. In th i 1_he continued hii
journey down the river, taking possession by raisin
flags and huts at various points, to the pokanein 48
an ere a post was & tuart or Mc
Donald, in what month does not appear. Thompso:
was the first to explore the main Columbia above th
mouth of the Snake. He doubtless intended to tak
possession for his company and for England at th
mouth of the Columbia, where he arrived in J uly; bu
he was too late.
the Pacific Fur Company of New York, organizec

by Astor in 1810, sent out by sea a party which i
March 1811 founded the post of Astoria on the soutl

~ bank of the Columbia near its mouth Later in the

~~

year this company sent men up the river to found :
post at the mouth of the Okanagan in about 48°; anc
points on the Clearwater and Willamette were occu
ied for a time as stations by parties of trappers.
The most that can be claimed for the acts of Astor’:
company is that they gave to the United States the
ame kind of territorial rights as Enoland had gainec
rom the founding of forts Fraser, Stuart, and others
in the north; that is, that the founding of Astoris
was a legitimate act of occupation, giving a nationa’
title—permanent if the settlement should not be
abandoned—to a certain territory, the extent of which
would depend on subsequent operations of this com-
pany and others. There was nothing in what had
_been done that, necessarily prevented either the Pacific

or Northwest companies froii extending their

north or south, leaving the question of boundaries to
be settled later.

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THE GREAT RUSSIAN NAVIGATOR, A. I. CHIRIKOV

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In the conclusion of the report it was proposed that naval forces should be
established on the Pacific Ocean “for the protection of the interests of the
Russian promyshlenniks and the dignity of Russia.”

Upon approving the proposals of Vorontsov and Bezborodko the Rus-
sian government recommended to the College of Foreign Affairs that “it
put into effect everything presented therein for the preservation of our right
to the lands through discovery by Russian navigators, inasmuch as that
[preservation] depends on it.”'® At the same time the Admiralty College
issued a directive ordering squadrons of the Baltic fleet sent to the Pacific.
The Russian government was prevented from sending an expedition to
northwestern America on account of the war with Turkey, which had
begun, and then also with Sweden. Thus the Russian government set about
resolutely to defend Russia’s interests in the northeastern part of the
Pacific.

Chirikov’s idea about the need to settle and strengthen Alaska and the
adjacent islands was developed further by Grigorii Ivanovich Shelikhov,

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Maritime map of northeastern Asia and northwester
America, reflecting the exploration c
Shelikhov in 1782-1788

who took several practical steps for their realization. In the first years of hi
stay in the east he tried to eliminate the tyranny of many merchants, wh
thought first of their own enrichment and rapaciously destroyed the valu
of this region. Thus one of Shelikhov’s biographers wrote about hir
“With a spirit characteristic of the statesman he set as his princip<
objective the consolidation of the occupied islands for the fatherland, t
bring their inhabitants under subjection to Russia, to establish permaner
settlements only where possible.”"!

Shelikhov set about achieving this plan in 1783 when he created th
trading company of Shelikhov and the Golikov brothers. At the same tim
he departed from the mouth of the Urak River into the open sea at the hea
of an expedition. Wintering o ander Islands, the expeditio

i ~__reached Kodiak Is and in August 1784 where a permanent settlement wa

founded and the beginning made for Russian colonies in America. On th
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south side of the island Three Saints Harbor was established that same yez

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THE GREAT RUSSIAN NAVIGATOR, A. I. CHIRIKOV

Epilogue

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An enlargement showing the right-hand portion
of the maritime map of northeastern Asia and
northwestern America shown on page 248-249.

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Figure 4. Part of a 1688 map of New France by Father Vincenzo Coronelli,

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showing the water route Courtemanche took from Montreal (upper right ) g the Ottawa River and throu

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2 HBC Charter for VS
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controlled the vast region in the
rt's Land, Located in Central and North Canada (Credit
p://ocheritage.ca/tod/adventure/f_nation/rupert.htm)) centre of what would become

Canada. Given a_ Charter by King
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Charles II in 1670 to dominate tradanthe HBC was a powerful KS
monopoly in British North Americk’ Kneompassing the Hudson’s
Bay drainage basin, Manitoba, a large portian of saskaicuqwan,
southern Alberta, northern regions of Ontario Afi tebec, and
part of Nunavut, the Charter also included northernmost parts of
Montana, Minnesota, and North and South Dakota. The land was

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valuable, with more than one interested purchaser.

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USA Interested in Northerly Expansion

“The Americans, who had just paid Russia $7.2 million for Alaska
in 1867, were looking for other properties to expand the Republic
and eyed the territory,” said CBC Learning’s “Canada: a People’s
History” in Canada Buys Rupert’s Land. The British had other
ideas. Under the British North America Act, 1867, Canada was a
newly y formed country and ready for growth. Confederation united
Ontario, Quebec, New Brunswick and Nova-Scotia with Sir John A.
Macdonald as first Prime Minister. The Dominion ¢
wanted the right to purchase the enormeus parecl of land, near
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14 - . OTHERS WANTED HAWAII.

knowing that he had been employed as a main instrument
in the accomplishment of these marvelous results.—
America in Hawaii.

. OTHERS WANTED HAWAII.

HE Hawaiian Islands from 1838 to 1843 were the
scene of many intrigues on the part of agents and
subjects of France and England. The. native gov-

ernment at best was a weak affair, and the native rulers
often allowed themselves to be led into transactions -that
threatened the existence of the government. In several
instances relief came only through the aid of American
residents and the positive action of the United States
government. :

In 1839 while Kamehameha III. was King, he was com-
pelled by French agents and residents to comply with: cer-.
tain unwarrantable demands, and asa security for future
good behavior was required to deposit the sum of $20,000,
The King was well-nigh powerless in the emefgency,. for
such a sum of money was not available for.an Hawaiian
king. It is-believed that the demand was purposely made
to offer an excuse for France to seize the islands. The
King in his weakness appealed to the American merchants
and they came forward ‘and advanced the money, which
ended this particular peril.

“In 1842 the British consul, a coarse and illiterate man,
incited by. an ambitious British subject, succeeded in in-
volving. the native government in difficulties that led to the
hoisting of the British flag over the lands. So carefully
was the affair planried that it was thought to be impossible’
for the natives and Americans to protest before the British
home government had formally approved of the action-of
the Hawaiian consul. Americans were informed:-of the
situation and a secret arrangement was made whereby Mr.

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-- OTHERS WANTED HAWAII. - 15
J. F. B. Marshall, a young American merchant: of Hono-
lulu, was selected to secure passage to Washington with
dispatches and thence to the English government with a
protest against the action-of the British consul and a re-
quest to have this action disavowed. Plans were made for
the instigator of the plot to sail on “her majesty’s tender
Albert,” which was being fitted up for the purpose and
would sail as soon as ready. a
The King and his premier had gone to the island of
Maui, and their signatures to the papers were neéessary
and there was no time to lose: The.papers were drawn up
and taken to. Maui for the official signatures of the King
~aind his premier, and Mr. Marshall was ready to sail on the
Albert without his mission being known to the agent of
the British consul. Many amusing incidents happened
during the journey, and later in Mr. Marshall’s efforts to
secure an interview with the Earl of Aberdeen. It came
about after a great deal of ceremony, and the acts of the
British consul and those who had promoted the plot were
disavowed and the British flag had to come down. A pro-
test from the United States government perhaps was the
real cause. Daniel Webster was then Secretary of State,
and on his way Mr. Marshall met him in Boston and made
known his mission to the two governments and- narrated
the details of the plot. Mr. Webster was indignant at the
action of the British authorities and said to Mr. Marshall:
“We will await the result of your mission! If England
does not:then disavow the acts of Lord George Paulet
and restore the group, well make a fuss.”
A‘noble-hearted American, doing business in the islands,
advanced the necessary funds to meet Mr. Marshall’s
services and bills, for which the King agreed to. pay him
-in fire-wood, all the King’s other revenues being cut off.
These. ‘expenses, it may be added, amounted to $1,995.95,
which seem insignificant when measured by the cost of
most royal commissions.

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THE HUDSON’S BAY COMPANY ON THE PACIFIC, 1821-1843
by
RICHARD SOMERSET MACKIE

M.A. (Hons.), University of St. Andrews, 1981
M.A., University of Victoria, 1984

A THESIS SUBMITTED IN PARTIAL FULFILLMENT OF
THE REQUIREMENTS FOR THE DEGREE OF

DOCTOR OF PHILOSOPHY

in
THE FACULTY OF GRADUATE STUDIES

Department of History

We accept this thesis as conforming

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THE UNIVERSITY OF BRITISH COLUMBIA
June 1993

© Richard Somerset Mackie, 1993

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>> Mary Lou Reker: Hello, my name is Mary Lou Reker, and on behalf of the Library of ~
Congress' Office of Scholarly Programs and the John W. Kluge Center, I welcome you to Ce
a lecture by Dr. Oana Godeanu-Kenworthy, entitled, "When the U.S. Went to War with

_ Canada: ‘Competing Narratives of the 1812 War. yore first of all, I want to “Yemind

And TI also want to thank the John W Kluge family for their continued support of the
Kluge Center and the wonderful fellowships that have brought so many scholars to us.
If you want to learn about more about our programs, just go to rest gov/Kluge, 2

K-L-U-G-E. cell Phees aAVe Tuva ol) Lo

Dr. Godeanu-Kenworthy received her Ph.D. in English from the University of Bucharest

Corll qe Gore

__in 2006. Her dissertation, which was on "British Colonialism in 19th Century Canada,"

received the Best Doctoral Thesis in Canadian Studies award as granted by the
International Council for Canadian Studies. She is a lecturer in the American Studies
Department of Miami University in Oxford, Ohio, and prior to this, was an Assistant
Professor in Foreign Languages and Literatures at the Spiru Haret University in
Bucharest. Dr. Godeanu-Kenworthy's research looks at Canada against the historical
intersect of British and American interests. * Her work has been published in a number
of journals, including the "Journal of European Studies," the "American Review of
Canadian Studies," the "Early American Studies Journal," and the "Central European
Journal for Canadian Studies." She has contributed articles and chapters to edited
volumes published in Romania, Poland and Serbia, and her book, which she has been
working on this year under her Kluge Fellowship, is currently under contract to the
University of Toronto Press. Please help me welcome her today, Dr. Oana Godeanu-
Kenworthy.

*M00:02:59

( Applause ]

“M00:03:04

>> Dr. Godeanu-Kenworthy: Thank you all for being here. And before I start, I want
to say how grateful I am for having had the opportunity to be here at the Kluge Center
to research every day in this beautiful building. It's been a great experience.

Thank you, Mary Lou, thank you, Calan [phonetic], and all the staff at the Kluge, and
our interns -~ I see Becky in the audience -- thanks for making this a very productive
stay.

My talk today draws upon the book manuscript, which I completed during my stay at the
Kluge and which deals with the literary representations of the U.S. in colonial
Canada. My focus is on the relationship between 19th century debates surrounding
republicanism and popular democracy and the literary image 0 of the U.S. in colonial

Canada. My argument is that because of the Similarities “between, p particularly Engtish

Canada in the U.S., the emphasis on the political distinctions and the values that
upheld the two forms of government, the two communities embraced, are central to the
shaping cf almost decentralized national images about the U.S. in Canada. Right now,
I will focus on the role of the War of 1812 in the articulation of a Canadian colonial
response to the AmeriGan cultural nationalism in the 1830s and 1840s. First, If will
give a full presentation of the War and of the role of memory of the War of 1812 in
Canadian cultural nationalism. Then I will turn to discussing how narrativizing the
War in the fiction of a colonial Canadian writer, John Richardson, fits in the
political context of the decade of the 1830s, early 1840s. And I will contrast, I
will conclude by contrasting Richardson's fictional work and fictional use of the past

and of North American _geegraphy with that of his contemporary and model, the American
NS
writer, James Fenimore Cooper. . +
SNC] -

A short historical background. In Canada and the U.S., the nation Renae process...
happened at different times and responded to different needs. In the 0.S., the
military and political struggle alvanized a sense of nationalism, early on, t of

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340 THE OREGON QUESTION.

_ throughout the ten years named in the treaty the

English fur-hunters remained in possession of the
territory, their rivals failing to éxercisé the privileges
‘conceded to them. Meanwhile there occurred a series
of eventswhich had an influence on this subject, though
the importance of some of them in this respect has
generally beén exaggerated.

The first was the signing of the Florida treaty
between the United States and Spain on Feb. 22,
1819. The negotiations preceding this treaty were
long and complicated; but the boundary in northern
regions was an unimportant feature in the discussions.
In 1805 the United States had proposed a line run-

———hing_north from the sources of Red River; white

Spain had preferred a boundary commission to explore
the unknown region north of Red Ri investii-
gate documents bearing on the title; but nothing
was done.® At the beginning of 1818 the Spanish
plenipotentiary, Luis de Onis, wrote: “The right and
dominion of the crown of Spain to the Northwest ~
“Coast of America as high as the Californias, is not
~__Tess~certainand indisputable, the Spaniards having
~~ explored it as far as the 47th egree, in the expedition
under Juan de Fuca, in 1592, and in that under the
“Admiral Fonte to the 55th degree in 1640.” That
the Spanish claim was thus founded on the fictitious
discoveries of Fuca and Fonte shows how little was
known or cared about the matter; the claim was not
disputed, and the subject was dropped until the ques-
tion of boundary came up near the close of the nego-
tiation. Spain had wished in exchange for Florida
to obtain everything west of the Mississippi; but
_attention was given almost exclusively to the south.
"On October 31st Mr Adams proposed as a bound-
ary the Red River, Rocky Mountains, and the line |
of 41" to the Pacific. This was the first intimation of

8 President’s Mess. and Doc., Dec. 6, 1805, 8th Cong. 2d Sess., in American
State Papers, For. Rel., ii. 662, 665; Twiss, Or. Quest., 231, also cites British
and Foreign State Papers, 1817-18, 321, but gives the date of a document
cited incorrectly.

LENS Sales

SPAIN AND THE UNITED STATES. 341

2 claim to territory west of the mountains: and at
“first Spain would not listen to anything of the kind,
but soon viewed the idea more favorably. In Jan-
uary 1819, Onis proposed a line from the source of
the Missouri to the Columbia, and down that stream
to the Pacific. This being rejected, he proposed the
upper Arkansas and line of 41° to the Multnomah,
or Willamette, and down the river to the occan.
Adams in response offered the upper Arkansas and
line of 41° to the Pacific, whereupon Onis suggested
42° from the Arkansas to the Multnomah, ,and 43°.
from the latter stream to the ocean. Tinally Onis
for Spain praposed 42° from the Arkansas to the
Pacific, and A'dams agreed to this in behalf of the
United States. The treaty was signed accordingly."

—by this treaty “His Catholic Majesty cedes to the

United States all his rights claims, and_ pretensions

. . a ¥ .
to any territories east and north of the said line,
and. ..renounces all claim to the said territories for-
ever.” That is, the United States acquired the Spanish,

title to the Northwest Coast above’ he latitude of

42), Thave a ready shown that Spain had iio tights

“In that territory except that of making settlements in

TAmerican State Papers, For. Rel., iv. 455, 530-2, 615-23, being the
President's Bess. and Doc., Feb. 22, 1819., 15th Cong., 2d Sess.; Twiss, Or.
Quest., 229-43, cites also the British and Foreign State Papers of 1817-20 as
containing the same correspondence. ‘Art. 3. The boundary line between
the two countries, west of the Mississippi, shall begin on the Gulf of Mexico,
at the mouth of the river Sabine, in the sea, continuing north along the
western bank of that river to the 32d degree of latitude; thence by a line
due north, to the degree of latitude where it strikes the Rio Roxo of Natchi-
toches, or Red River; then following the course of the Rio Roxo westward,
to the degree of longitude 100 west from London, and 23 from Washington;
then crossing the said Red River, and running thence by a line due north
to the river Arkansas; thence following the course of the southern bank
of the Arkansas to its source, in latitude 42 degrees north; and thence
by that parallel of latitude to the South Sea; the whole being as laid
down in Melish’s map of the United States, published at Philadelphia,
improved to the Ist of January 1818. But, if the source of the Arkansas
River shall be found to fall north or south of latitude 42 degrees, then
the line shall run from the said source, due north or south as the case
may be, till it meets the said parallel of latitude 42 degrees.” The previous
propositions were also to be according to Melish’s map; and had any of them
been adopted, great would have been the geographical confusion eventually;
Lut there was no room for trouble in the line as finally determined. This
treaty was subsequently ratified by Mexico in 1828,

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Case 1:

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* KAMINISTIQUIA PORTAGE Broadway and Pointe de

Meuron Road, Thunder Bay

The canoe landing, the beginning of the long portage route to the
GREAT WEST, was used by the Indians for ages, by Jacques de
Noyon in 1688, subsequently by French, British and Canadian discov-
erers, explorers and traders.

* FORT WILLIAM Heath Park, Thunder Bay

The mouth of the Kaministiquia, for ages the gateway of canoe traffic
with the interior, became later the Lake terminal of great transconti-

nental railways. The first sod~of the Canadian Pacific Railway was

cut by Adam Oliver, M.P.P., on Ist June, 1875. The first sod of the
Grand Trunk Pacific Railway was cut by the Right Honourable Sir
Wilfrid Laurier, Premier of Canada, at the Canadian Pacific Railway
crossing, on [1th September, 1905. The first grain from the West to
reach Fort William arrived in 1883, and was loaded with wheelbar-
rows into steamers from the East.

\

Connaught Square, Thunder
Bay

“oh Ta

( Radisson and Grgseilliers were the first Europeans on Thunder Bay,
. 1662. Wolseley’sRed River expeditionary force camped at the foot of

19th May, 1870, named by him “‘Prince Arthur’s Land-
ing’’, advanced by the Dawson Road via Lake Shebandowan and oth-
er lakes and rivers connected by portages to Fort Garry to suppress
the Red River Rebellion. The Dawson Road, begun in 1869, by Simon
J. Dawson, C.E., was used by immigrants to the West until the con-

struction of the Canadian Pacific Railway, in 1882. The Canadiar
cific Railway built its first elevator at Port Arthur in 1883 and the
shipment of Manitoba wheat was carried to the East by the ste:
‘*Erin’’, Captain J. Clifford.

e THE WESTERN ROUTE OF THE

C.P.R. Corner of Ridgeway St

Syndicate Ave., Thunc
Bay

In June, 1875, the first sod on the Canadian Pacific Railway’s
from the Lakehead to the West was turned at Fort William. A go:
ment contract of that year called for the building of a line north
towards Lake Shebandowan. In 1882 the government complete
railroad from Fort William to Winnipeg, while between 1882-188
Canadian Pacific Railway Company, incorporated in 1881, exte
the railway across the prairies and through the Rockies via Ki
Horse and Rogers Passes. Meanwhile Andrew Onderdonk, 1
contract first with the government and then the company, had
tructed the line eastward from Port Moody, B.C. The last spike
driven at Craigellachie in Eagle Pass, November 7, 1885.

APTURE OF FQRT LIAM 1816 Paterson Park, Thunde
7 Bay

In 1812 the Earl of Selkirk, a principal shareholder of the Hud:
Bay Company, founded a settlement of Scottis I the

adversely affect the fur trade and a series 0 ulm
ing in the Massacre of Seven Oaks, June 19, 1816. Selkirk had
“ Montreal with a contingent of disbanded Swiss mercenaries of th
Meuron and De Watteville regiments and, on August 13, 18i¢
seized the Nor’Westers’ headquarters at Fort William and arre
several senior partners. The bitter legal conflict which followed te
nated with Selkirk’s death in 1820 and the union of the compani
1821.

@ THE ROBINSON SUPERIOR
TREATY

On September 7, 1850, a treaty was concluded at Sault Ste. \
between the Hon. W. B. Robinson, representing the government.
nine Ojibwa chiefs and head men. Under its terms the Ojibwa su
dered territory extending some 400 miles along the shore of |
Superior, from Batchawana Bay to the Pigeon River, and north
to the height of land delimiting the Great Lakes drainage area. I
turn, the Indians were allotted three reserves, a cash settlement z

Chippewa Park, Thunc
Bay

MAJOR WESTERLY
MIGRATION ROUTES
ABOUT 1800

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OF SETTLEMENT
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Home > Politics and Government > Canadian Confederation

ARCHIVED - Canadian Confederation

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Maps: 1667-1999
Map: 1870

The North-West Territories (Rupert's Land and the Nonh-Western Tertitory) are acquired by Canada
from the Hudson’s Bay Company. From part af them Manitoba is created as the fifth province,

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Redrawn from a map in the.

. 1947 edition of Colden’s History

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Penn's death. Dissatisfaction with the defense of the foe the Treated. af the C ropes Chee” to William Penn, ues
4, 1681, iron gall ink on parchment, in Record Group 26, Records’ of the

Depaitment of State. Basic Documents of Pennsylvania Including
charter government with royal colonial administration, but this Proprietary Charters and Deeds, Indian Deeds, and Seate Consticusions

movement also failed. en” Pennsylvania entered ‘the 4 .
Revolution, the state took over the Penn family’s title to the land |

~~ by enacting the Divesting Act oF 27 November 1779. This, any. > The Charter gave
pled with the termination of proprietary government, seemied to ip Ne: nn syly an { a

make’ the Charter meaningless, but Pennsylvaiiia revived it. ‘in

1782, as the only way to show primacy over Connecticut's aim b bounda ies, that
to a large part of northeastern Pennsylvania. Today, the Charter, - — pres Se
provides the historical basis for chains of title in Pennsylvania's |

| real estate system and for governments of the older political sub4_/ es at the tine but

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the French and Indian War fostered another attempt to replace

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river and all the land on both sides for his master
the king of France. He named this middle part ol
what is now our country Louisiana, in honor of King

Louis.

